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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

   UNITED STATES OF AMERICA,                      )
                                                  )
                           Plaintiff,             )
                                                  )
   vs.                                            )       Case No.: 1:22-cr-00036-RWS-ACL
                                                  )
   BRANDON ANDREWS,                               )
                                                  )
                           Defendant.             )


            DEFENDANT’S NOTICE OF INTENT TO WAIVE THE FILING OF

                                        PRETRIAL MOTIONS

            Pursuant to the Order entered by United States Magistrate Judge, Abbie Crites-

   Leoni, Defendant hereby states the following:

         1. The undersigned Counsel has received and reviewed extensive discovery

            materials from Counsel for the Government regarding the Indictment of

            Defendant.

         2. The undersigned Counsel has provided a copy of said discovery materials to

            Defendant.

         3. The undersigned Counsel has personally reviewed and discussed said discovery

            materials with Defendant.

         4. Following said review and discussion, Defendant has determined that he does not

            wish to raise any issues by way of pretrial motions in this matter.

         5. The undersigned Counsel agrees and concurs in Defendant’s decision not to raise

            any issues by way of pretrial motions.




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                                                        Respectfully submitted,


                                                        STATLER LAWYERS

                                                        /s/ Erin C. Bradley
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                                                        ATTORNEY FOR DEFENDANT

                               CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a copy of the foregoing was electronically
   filed and served to the following counsel and probation officer of record on this 11th day
   of May 2020:

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